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                                UNITED STATES BANKRUPTCY COURT
                                          FOR THE
                            DISTRICT OF MASSACHUSETTS (SPRINGFIELD)

In re:                                                Chapter 7
Kathleen Guevin a/k/a                                 Case No.: 18-30765
Kathleen Whitworth
       Debtor
___________________________________/

MOTION OF GMAT LEGAL TITLE TRUST 2013-1, U.S. BANK NATIONAL ASSOCIATION,
 AS LEGAL TITLE TRUSTEE FOR RELIEF FROM THE AUTOMATIC STAY PURSUANT
                         TO 11 U.S.C. SECTION 362

       GMAT Legal Title Trust 2013-1, U.S. Bank National Association, as Legal Title Trustee

(“Movant”), a creditor in the above captioned Chapter 7 proceeding, moves this Court for an Order

pursuant to 11 U.S.C. §362(d) for relief from the automatic stay of 11 U.S.C. §362(a) so that it may

foreclose on a Mortgage which it holds on real property known and numbered as 57 Bonair Avenue,

West Springfield, MA 01089 1. In support of its motion, Movant states the following:

       1.     On February 25, 2008, Roger Whitworth executed and delivered a Note (the “Note”, a

copy of which is attached hereto as Exhibit “A”) to Security Atlantic Mortgage Co. Inc. The Note is

secured by a Mortgage executed by Roger Whitworth and Kathleen Guevin Whitworth (“Debtor”) also

dated February 25, 2008, and recorded in the Hampden County Registry of Deeds in Book 17177 at

Page 4 (the “Mortgage”, a copy of which is attached hereto as Exhibit “B”), on real property owned by

Debtor and known and numbered as 57 Bonair Avenue, West Springfield, MA 01089 (the “Real

Property”).

       2.     Movant is the current holder of the Mortgage by virtue of five Assignments of Mortgage

recorded in the Hampden County Registry of Deeds (the “Assignment”, a copy of which is attached

hereto as Exhibit “C”).

       3.     There is no other collateral securing the Note.

       4.     Specialized Loan Services LLC services the loan on the Property referenced in this
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Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or the Debtor

obtains a discharge and a foreclosure action is commenced on the mortgaged property, the foreclosure

will be conducted in the name of Movant or Movant’s successor or assignee. Movant, directly or

through an agent, has possession of the Note. The Note is either made payable to Movant or has been

duly endorsed. Movant is the original mortgagee or beneficiary or the assignee of the Mortgage/Deed

of Trust.

       5.      On September 10, 2018, Debtor filed a petition for relief under Chapter 7 of the United

States Bankruptcy Code.

       6.      As of September 20, 2018, the delinquency owed by Debtor on the Note is $200,002.22.

Movant estimates that, if a hearing on this motion is held within thirty days of the date of filing, an

additional payment will come due and owing.

       7.      According a Broker Price Opinion the fair market value of the Real Property is

$229,000.00 (the “BPO”, a copy of which is attached hereto as Exhibit “D”).

       8.      Movant estimates that the liquidation value is no greater than $229,000.00

       9.      Upon information and belief, there are no additional liens or encumbrances on the Real

Property.

       10.     As of September 20, 2018 the total outstanding balance owed on the Note was

$374,593.08.

       11.      The estimated total amount of encumbrances on the Real Property is $374,593.08.

       12.     Movant is entitled to relief from the automatic stay for cause pursuant to 11 U.S.C.

§362(d)(1) because Debtor has not made payments pursuant to the Note and Mortgage.

       13.     Movant is entitled to relief from the automatic stay pursuant to 11 U.S.C. §362(d)(2)

because there is no equity in the Real Property and it is not necessary for an effective reorganization.

        WHEREFORE, Movant moves that the Court enter an Order granting Movant relief from the
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automatic stay pursuant to 11 U.S.C. §362(d) so that it, and its successors and assigns, may proceed to

exercise its rights pursuant to the Note and Mortgage. They may also proceed according to applicable

state and federal law and to commence a summary process action against occupants of the Real

Property.

                                                    GMAT Legal Title Trust 2013-1, U.S. Bank
                                                    National Association, as Legal Title Trustee
                                                    By its attorneys,

Date: September 21, 2018                            /s/ Joseph Dolben, Esq.
                                                    Joseph Dolben, Esq., #673113
                                                    Marinosci Law Group, P.C.
                                                    275 West Natick Road, Suite 500
                                                    Warwick, RI 02886
                                                    Telephone: (401) 234-9200
                                                    jdolben@mlg-defaultlaw.com
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Kathleen Whitworth
       Debtor
___________________________________/


                                   CERTIFICATE OF SERVICE

        I, Joseph Dolben, Esq., of Marinosci Law Group, P.C., do hereby certify that on September 21,
2018, I served a copy of the Motion for Relief and supporting documents on the attached service list by
mailing a copy of same by first class mail, postage prepaid or other method specified on service list.

       Signed this 21st day of September, 2018


                                              /s/ Joseph Dolben, Esq.________
                                              Joseph Dolben, Esq., #673113
                                              Marinosci Law Group, P.C.
                                              275 West Natick Road, Suite 500
                                              Warwick, RI 02886
                                              Telephone: (401) 234-9200

VIA ECF
Damien J. Martin, Esq., on behalf of Debtor
Richard King, on behalf of the U.S. Trustee
Steven Weiss, on behalf of the Trustee

VIA US MAIL
Kathleen Guevin
57 Bonair Avenue
West Springfield, MA 01089

Town of West Springfield- Tax Collector
26 Central Street
West Springfield, MA 01089

Roger Whitworth
57 Bonair Avenue
West Springfield, MA 01089
